                                      Case 2:13-cv-01670-WBS-EFB Document 10 Filed 09/06/13 Page 1 of 2


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                                      Attorneys for Plaintiff/Petitioner SERVICE EMPLOYEES
                                 8    INTERNATIONAL UNION, LOCAL 1021

                                 9
                                                                UNITED STATES DISTRICT COURT
                                10
                                                              EASTERN DISTRICT OF CALIFORNIA
                                11'

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                                      SERVICE EMPLOYEES INTERNATIONAL                No. 2:13 -cv-Ol670-WBS -EFB
                                13    UNION, LOCAL 1021,                                                   ~            !        ~   ~
                                14                                                      1     i   ~         t       ~   '
                                                         Plaintiff/Petitioner,
                                                                                     ~,'',~       ~        i 1              1.
                                1S          v                                        . ~              ~,        ~                ~
                                16
                                      PRIVATED INDUSTRY COUNCIL OF                   Date:        October 7, 2013
                                17    SOLANO COUNTY, INC., dba WORKFORCE             Time:        2:00 p.m.
                                      INVESTMENT BOARD OF SOLANO                     Dept.:       Courtroom 5
                                18    COUNTY,                                        Judge:       Hon. William B. Shubb

                                19                       Defendant/Respondent.
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  Sacramento, CalifarNe 95R14                                                    1
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                                        PLAINTIFF'S NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION; NOTICE OF NON-
                                        OPPOSITION TO DEFENDANT'S REQUEST FOR JUDICIAL NOTICE
                                        Case No. 2:13-cv-01670-WBS-EFB
                                      Case 2:13-cv-01670-WBS-EFB Document 10 Filed 09/06/13 Page 2 of 2


                                 1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                                 2    PLEASE TAKE NOTICE that on October 7, 2013 at 2:00 p.m., or as soon thereafter as counsel

                                 3    maybe heard, in the Courtroom of the Honorable William B. Shubb of the United States District

                                4     Court, Plaintiff Service Employees International Union, Local 1021, will and hereby does move

                                5     for an order compelling arbitration of the grievances underlying this matter.

                                6              This motion to compel arbitration is based on this Notice of Motion and Motion, the

                                7     Petition to Compel Arbitration, the Memorandum of Points and Authorities in Support of

                                8     Plaintiff's Petition to Compel Arbitration, any Reply Memorandum, the arguments of counsel at

                                9     any hearing on this matter, the files and records of this case, and such other matters that the Court

                               10     may consider.

                               11              PLEASE FURTHER TAKE NOTICE that pursuant to Federal Rule of Evidence 201,

                               12     Plaintiff hereby does not oppose Defendant's Request for Judicial Notice.

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                               14     Dated:                                         WEINBERG, ROGE            SENFELD a
                                                         ~                           A Professional Co oration
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                                                                                         ~ ~~
                               16'~
                                                                             By:        `"MAT'fi~IF,~J. AUGER
                               17                                                         GARY P. P VENCHER
                                                                                          ANTHON J. TUCCI
                               18
                                                                                     Attorneys for Plaintiff/Petitioner SERVICE
                               19                                                    EMPLOYEES INTERNATIONAL UNION,
                                                                                     LOCAL 1021
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                                        Case No. 2: ~ 3-cv-01670-WBS-EFB
